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-v- 03-20274-01-Ma W-D- OF ta :-a`:;l,:t>a:s'

UN|TED STATES OF AIV|ER|CA

JA|V|ES lV|ERR|WEATHER
T. Clifton Harviel Jr. CJA
Defense Attorney
50 N. Front Street
Il/femphis, Tennessee 38103

 

 

AIVlENDED* JUDG|V|ENT |N A CFthl|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 through 8 and 11 of the indictment on September18,
2004. Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Tit|e & Section M§LJMQS_G Conc|uded Number(s)
18 U.S.C. § 822(9) Fe|on in possession of firearms 10/17/2002 1 - 8 & 11

* Counts 1 - 4 are merged as one conviction and Counts 5 - 8 are merged as one
conviction The defendant is sentenced as provided in the following pages of this
judgmentl The sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and
the l\/landatory Victims Fiestitution Act of 1996.

Counts 9 and 10 are dismissed on the motion of the United States.

|T |S FURTHER ORDEFtED that the defendant shall notifythe United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all finesr restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 7/13/1966 April 15, 2005
Deft’s U.S. i\f|arshal No.: 19216-076

Defendant's Ftesidence Address:
186 Chapel Street

C|arksville,TN 37042 / i

SA|V|UEL H. |V|AYS, JFt.
UN|TED STATES D|STF{|CT JUDGE

 

Junel 7 , 2005

This document entered on the docket sheet in com

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Case No; 03-20274-01-Ma
Defendant Name'. James |Vlerriweather Page 2 of 5

|MPRISON|V|ENT
The defendant is hereby committed to the custody of the United States Bureau of

Prisons to be imprisoned for a term of one hundred eighty (180) months *on each count,
to run concurrentlyl This sentence shall also run concurrent with defendant’s undischarged

state sentence
The Court recommends to the Bureau of Prisons:

That defendant participate in the 500 hour drug rehabilitation program at l_exington,
Kentucky_

The defendant is remanded to the custody of the United States l\/larshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STA`|'ES lVlAFiSl-|Al_
By:

 

Deputy U.S. lVlarshal

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Case No: 03-20274-01-|\/|a
Defendant Name: James l\/lerriweather Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court_

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district Without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute or administer any narcotic or other controlled substance, or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed or administered

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9_ The defendant shall permit a probation officer to visit him or her at any time at home or eisewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 03-20274-01-Ma
Defendant Name: James Nlerriweather Page 4 of 5

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111

12.

13.

The defendant shall notify the probation officer Within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance With the Schedule of Payrnents set
forth in the Crimina| l\/lonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

release:

1 .

The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which mayinc|ude testing for the detection ofsubstance use or abuse Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

The defendant shall seek and maintain lawful full-time employment
The defendant shall obtain his Genera| Educational Development (G.E.D.) Dip|oma.

The defendant shall cooperate in the collection of DNA as directed bythe Probation Officer.

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Case No: 03-20274-01-|Via
Defendant Name: James Nierriweather Page 5 of 5

CFtllVllNAL NIONETARY PENALTIES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment7 pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution

$300.00*

'Counts 1 - 4 are merged as one conviction and
Counts 5 - 8 are merged as one conviction

The Speciai Assessment shall be due immediately

FlNE

No fine imposed

REST|TUT|ON
No Ftestitution was ordered

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 85 in
case 2:03-CR-20274 Was distributed by t`aX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

Memphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

